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                                           EXHIBIT A
               1/29/2021
                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF NEW YORK


 PEOPLE OF THE STATE OF NEW YORK,
 by LETITIA JAMES,
 Attorney General of the State of New York,

                        Plaintiff,
                                                               No. 19-cv-9155 (ER)
                v.

 PENNSYLVANIA HIGHER EDUCATION
 ASSISTANCE AGENCY, d/b/a
 FEDLOAN SERVICING and AMERICAN
 EDUCATION SERVICES,

                        Defendant.


       WHEREAS, on January 7, 2020, the Court approved a Joint Discovery Plan in the above-

captioned action (Docket No. 31);

       WHEREAS, on May 18, 2020, the Court so ordered an amended Joint Discovery Plan in

the above-captioned action (Docket No. 63);

       WHEREAS, on May 20, 2020, the Court granted an application to amend the Joint

Discovery Plan to correct errors in the parties’ previously proposed dates (Docket No. 65);

       WHEREAS, on November 10, 2020, the Court so ordered a jointly proposed three-month

extension to the deadlines in the Joint Discovery Plan (Docket No. 70);

       WHEREAS, in light of the need to address certain technological and other issues related

to the production of data to the New York State Attorney General’s Office, the New York

Attorney General’s Office and the Pennsylvania Higher Education Assistance Agency

(collectively, the “Parties”) have agreed to jointly propose an additional three-month extension to
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the deadlines in the Joint Discovery Plan:



       NOW, THEREFORE, IT IS HEREBY STIPULATED AND AGREED, by and between

the undersigned counsel, on behalf of Parties, that

    1. The last date to seek discovery from federal agencies is extended from February 23, 2021

       to May 21, 2021.1

    2. The document production cut-off for the Parties is extended from March 22, 2021 to June

       22, 2021.

    3. The last date for personal service of interrogatories and requests for admission is

       extended from June 8, 2021 to September 8, 2021;

    4. The fact discovery cut-off is extended from July 16, 2021, to October 15, 2021;

    5. The expert disclosure (initial) deadline is extended from July 23, 2021 to October 22,

       2021;

    6. The expert disclosure (rebuttal) deadline is extended from August 16, 2021 to November

       16;

    7. The expert discovery cut-off is extended from September 10, 2021 to December 10,

       2021;




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  The Parties recognize that either party may seek to obtain discovery from the Department of
Education or other federal agencies; as the Parties cannot dictate deadlines for response to
federal agencies, the Parties will confer to agree upon reasonable extensions of discovery
deadlines to accommodate any delays on the part of federal agencies. If information not
reasonably available to a Party prior to May 21, 2021 causes a Party to believe it is necessary to
seek discovery from a federal agency after that date, the Parties will confer, and, if unable to
reach an agreement as to the necessity, nature, or timing of any further discovery from the
agency, will seek the guidance of the Court.
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   8. The last day to file motions, including summary judgment, is extended from October 11,

       2021 to January 11, 2022;

   9. The joint pretrial statement deadline (no dispositive motion pending) (per Individual

       Practice 3.A) is extended from October 11, 2021 to January 11, 2022;

   10. The pre-trial filings deadline (per Individual Practice 3.B) is extended from January 11,

       2022 to April 11, 2022; and

   11. The Proposed trial (estimate length: one month) is extended from January 25, 2022, to

       April 25, 2022.


Dated: January 28, 2021

 Respectfully submitted,

    /s/ Carolyn M. Fast                                /s/ Thomas F. Burke
    Carolyn M. Fast                                    Thomas F. Burke
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                                                       Attorneys for Defendant Pennsylvania
                                                       Higher Education Assistance Agency



SO ORDERED


_________________________
Hon. Edgardo Ramos, U.S.D.J.
         1/29/2021
